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NVB 5075 (Rev. 1/19)


                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEVADA


 IN RE:                                                   BK−21−14486−abl
                                                          CHAPTER 7
 INFINITY CAPITAL MANAGEMENT, INC. ,
                        Debtor(s)
                                                          Adversary Proceeding: 21−01167−abl


 HASELECT−MEDICAL RECEIVABLES                             NOTICE OF DOCKETING
 LITIGATION FINANCE FUND                                  ERROR
 INTERNATIONAL SP, et al,
                          Plaintiff(s)

 vs

 TECUMSEH−INFINITY MEDICAL
 RECEIVABLES FUND, LP, et al,
                             Defendant(s)




NOTICE IS ORDERED that the following docket entry requires correction:

          Docket Number/Entry:            98 − Notice NOTICE OF DEPOSITION OF
                                          TECUMSEH−INFINITY MEDICAL RECEIVABLES
                                          FUND, LP PURSUANT TO FRCP 30(B)(6) with Certificate
                                          of Service Filed by BART K. LARSEN on behalf of
                                          HASELECT−MEDICAL RECEIVABLES LITIGATION
                                          FINANCE FUND INTERNATIONAL SP (LARSEN,
                                          BART)
          Filed On:                       9/9/22
          With A Hearing Date Of:         N/A
          And A Hearing Time Of:          N/A

The reason(s) for the required correction(s) is as follows:

   *    PDF has an incorrect case caption. Please Refer to the Local Rules and file an amended
        pleading or file in the correct case immediately. The following caption item(s) are
        incorrect/missing:
        * Adversarial Parties
        * The Case Caption does not match the docket sheet. The case caption must include
             all parties including terminated parties.




Dated: 9/12/22


                                                       Mary A. Schott
                                                       Clerk of Court
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For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
